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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, No. 2:15-cr-0205-TLN-EFB
Respondent, ' MOTION FOR LEAVE TO AMEND
INITIAL 28 U.S.C. §2255 FILING
v.
MATTHEW MULLER,

Movant.

 

 

 

Movant Matthew Muller seeks to amend his initial motion under 28 U.S.C. §2255,
filed on March 30, 2018 and entered on the docket on April 9, 2018. ECF No. 61;
Houston v. Lack, 487 U.S. 266 (1988).

The F ederal Rules of Civil Procedure apply in §2255 proceeding “to the extent
they are not inconsistent With any statutory provisions or these rules.” Rules Goveming
§2255 Proceedings, R. 12. Accordingly, Movant submits that he may amend his initial
pleading in this matter once as of right, pursuant to Federal Rule of Civil Procedure
l§(a)(l)(B). In the event the Court determines that leave is required, it is hereby
requested, and is to be “freely give[n]...When justice so requires.” Fed. R. Civ. P.
15(a)(2). As grounds for leave, Movant incorporates the reasons set forth in his

previously filed requests for extensions. ECF Nos. 66 and 70. As set forth therein and in

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To Amend United States v. Muller

 

 

 

 

 

the original filing, Movant has diligently pursued his motion, but has been hampered by
the continuing failure of his former counsel to turn over his case file, and by extreme
treatment by the Bureau of Prisons.

The proposed amended filing is complete in itself. See L. R. 200. It Supersedes
and relates back to Movant’S original filing. No new ground for relief is asserted, and the
filing retains the structure and ground numbering from the original motion. Accordingly,
the Court’s Findings and Recommendations (ECF No. 65) as to the original motion (ECF
No. 61) apply equally to the amended filing, with no alteration needed other than page
number references Movant’s objections to those Findings and Recommendations are
filed concurrently with this motion and the proposed amended §2255 motion.

WHEREFORE the Court should allow the amended filing, and Should order that
any response required of the United States be addressed to the updated §2255 motion.

Respectfully Submitted this eleventh day of November, 2018.

/@W/

Matthew Muller
Pro Se

 

Signed:

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To Amend United States v. Muller

 

 

